 

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

FUSE, LLC,

Debtor.

 

In re:

JAAM PRODUCTIONS, LLC,

Debtor.

 

In re:

SCN DISTRIBUTION, LLC,

 

 

 

Debtor.
In re:
FUSE HOLDINGS, LLC,

Debtor.
In re:
FUSE FINANCE, INC.,

Debtor.
In re:
FM NETWORKS LLC,

Debtor.

 

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Chapter 11

Case No. 19-10872 (KG)
Re Docket No. 330, 339
Chapter 11

Case No. 19-10873 (KG)

Chapter 11

Case No. 19-10874 (KG)

Chapter 11

Case No. 19-10876 (KG)

Chapter 11

Case No. 19-10877 (KG)

Chapter 11

Case No. 19-10878 (KG)

ORDER AND FINAL DECREE CLOSING CERTAIN OF THE CHAPTER 11 CASES,
WAIVING REQUIREMENT OF FURTHER POST-CONFIRMATION REPORTING IN
CHAPTER 11 CASES TO BE CLOSED AND CHANGING CASE CAPTION

DOCS_DE:225292.1 29402/003

 

 

 
 

The Reorganized Debtors in the above-captioned matter, (the “Reorganized Debtors”)
having filed a motion (the “Motion”),! seeking a final decree closing six of the seven above-
captioned cases pursuant to section 350(a) of chapter 11, title 11 of the United States Code as
amended (the “Bankruptcy Code”) and Rule 3022 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), waiving the requirement of further post-confirmation reporting in the
Chapter 11 cases to be closed and requesting a change in the caption of these cases; and it
appearing that the Closed Cases (defined below) have been fully administered as required by
Bankruptcy Code section 350(a) and Bankruptcy Rule 3022, making no further administration

necessary; and after due deliberation and sufficient cause appearing therefore, it is hereby

ORDERED that the following cases be closed (the “Closed Cases’’), effective as of the

 

 

 

 

 

 

 

 

entry of this Order:
Case Name Case Number
Fuse, LLC 19-10872 (KG)
JAMM Productions, LLC 19-10873 (KG)
SCN Distribution, LLC 19-10874 (KG)
Fuse Holdings, LLC 19-10876 (KG)
Fuse Finance, Inc. 19-10877 (KG)
FM Networks LLC 19-10878 (KG)

 

 

 

and it is further

 

' All capitalized terms not otherwise defined herein, shall have the meanings ascribed to them in the
Motion.

 

 
ORDERED that the requirement to file further post-confirmation reports for the Closed
Cases shall be and hereby is waived. All further reporting shall occur in Case Number 19-10875
(KG), Latino Events LLC; and it is further

ORDERED that to the extent not already paid, the fees required to be paid to the U.S.
Trustee pursuant to 28 U.S.C. § 1930(a)(6) shall be paid as soon as reasonably practicable after
the date of entry of this Order; and it is further

ORDERED that the Clerk of the Court shall enter this Order and Final Decree
individually on each of the dockets of the Closed Cases and thereafter such dockets shall be
marked as “Closed”; and it is further

ORDERED that the remaining Pending Matters shall be administered through Case No.
19-10875 (KG), In re Latino Events LLC; and it is further

ORDERED that the caption of these cases is changed to:

In re: Chapter 11

LATINO EVENTS LLC;,!

)
)
) Case No. 19-10875 (KG)
)

Reorganized Debtor. )
' The last four digits of the Reorganized Debtor’s Federal taxpayer identification number are 8204. The corporate
address for the Reorganized Debtor is 700 North Central Avenue, Suite 600, Glendale, CA 91203.

and it is further

 

ORDERED that the Clerk shall put a notation on the docket in Case No. 19-10872 (KG)
that the case is closed and the docket in case No. 19-10875 (KG) should be consulted for all
matters affecting the Remaining Case.

ORDERED that any objections to claims brought by the Liquidation Trust may be filed

in the Remaining Case and closure of the Closed Cases shall not prejudice the rights of the

 

 
Liquidation Trust in connection with any claim objections filed regardless of the entity against
which the claims are filed; and it is further

ORDERED this Order shall be effective and enforceable immediately upon entry hereof;
and it is further

ORDERED that the Court shall retain jurisdiction pursuant to Bankruptcy Code section
350(b), to reopen the Closed Cases to administer assets, to accord relief to the Reorganized
Debtors, or for other cause, and pursuant to and to the extent necessary to enforce the provisions

of the Plan, the Confirmation Order, or this Order.

Septauber 12,2014

 

 
